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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 AMALGAMATED TRANSIT UNION
 and AMALGAMATED TRANSIT
 UNION, LOCAL 836,                                           Case No. 1:15-cv-855

               Plaintiffs,                                   HON. JANET T. NEFF

 v

 INTERURBAN TRANSIT
 PARTNERSHIP d/b/a THE RAPID, et
 al.,

               Defendants.

 _________________________________/


                                              OPINION

       Pending before the Court is Plaintiffs’ Second Motion for a Preliminary Injunction (Dkt 26), to

which Defendants filed a response in opposition (Dkt 38). The Court held a motion hearing on

November 25, 2015, at which time counsel presented their oral arguments and defense counsel presented

the testimony of a witness. This Opinion contains the Court’s findings of fact and conclusions of law

in accordance with FED. R. CIV. P. 65(d). For the following reasons, the Court determines, in its

discretion, that the overall weighing and balancing of the equities warrant the issuance of a second

Preliminary Injunction during the pendency of this case, or until further Order of the Court.

                                      I. FINDINGS OF FACT

1.     It is not in dispute that Defendant Interurban Transit Partnership (ITP) d/b/a The Rapid (“The

       Rapid”) is a public authority or “political subdivision” of the State.
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2.   Plaintiff Amalgamated Transit Union (ATU) is an international union representing transit and

     allied workers, and Plaintiff ATU Local 836 is a local union that serves as the exclusive

     representative of all non-supervisory employees of ITP, i.e., the bus drivers and other hourly

     employees.

3.   Since December 2014, Local 836 and The Rapid have been bargaining over the terms of a new

     collective bargaining agreement (CBA), to succeed the old CBA which expired, after a

     two-month extension, on August 31, 2015.

4.   The parties have been operating without a CBA in place.

5.   Plaintiffs brought this suit on August 24, 2015 with the filing of a single § 1983 claim, alleging

     violations of their rights to freedom of speech and freedom of association under the First

     Amendment of the United States Constitution (Dkt 1).

6.   In August 2015, the Court entered a Temporary Restraining Order (Dkt 5) and the first

     Preliminary Injunction in this case, enjoining Defendant “from [1] prohibiting or interfering with

     the distribution of the informational leaflets like the leaflet attached as Exhibit A to the

     supporting Memorandum of Law in the outside area around The Rapid Central Station, and from

     [2] imposing discipline on persons for handing out or distributing such informational leaflets to

     the public” (Dkt 12).

7.   On August 31, 2015, Defendants appealed the Preliminary Injunction order to the Sixth Circuit,

     Case No. No. 15-2038 (Notice of Appeal, Dkt 15). Further, Defendants sought a stay of the

     injunction from both this Court and the Sixth Circuit. This Court denied the stay (Order, Dkt

     17), but Defendants’ September 8, 2015 “Emergency Motion for Immediate Consideration and




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      Motion to Stay Pending Appeal the District Court’s Preliminary Injunction” remains pending

      before the Sixth Circuit.

8.    Local 836, with assistance from the international union, has since engaged in a number of forms

      of public speech about the ongoing labor dispute. The parties agreed at the Motion Hearing that

      the facts of these incidents were not in dispute, at least for purposes of the instant motion.

9.    Specifically, on August 26, 2015, ATU members, including RiChard Jackson, President of Local

      836, attended a public meeting of The Rapid’s Board of Directors and spoke during the public

      comments section of the meeting.

10.   On September 10, 2015, approximately ten ATU members, including international Vice

      President Paul Bowen, met in the public street outside the residence of The Rapid’s Board Chair,

      Barbara Holt, in the suburbs of Grand Rapids for about thirty minutes.

      a.     At all times, the members remained in the public street.

      b.     Members held signs containing various messages, including “We Are One ATU,” “Back

             Off Our Pension,” and “Help Us Out Barb!”

11.   The ATU staged similar demonstrations at other locations. For example, on another date in

      September, Mr. Bowen attended a similar, though smaller, demonstration outside the workplace

      of Jack Hoffman, another member of The Rapid’s Board of Directors.

12.   That same day, Terry Simmons, one of Plaintiffs’ members who participated in the

      demonstration outside Holt’s home, was called into a disciplinary hearing related to a different

      matter by ITP.

      a.     At the meeting, an ITP representative put a copy of MICH. COMP. LAWS § 423.9f on the

             table and asked Simmons what he was doing that morning.



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      b.     Section 423.9f provides: “It shall be unlawful (1) for any person or persons to hinder or

             prevent by mass picketing, unlawful threats or force the pursuit of any lawful work or

             employment, (2) to obstruct or interfere with entrance to or egress from any place of

             employment, (3) to obstruct or interfere with free and uninterrupted use of public roads,

             streets, highways, railways, airports, or other ways of travel or conveyance, or (4) to

             engage in picketing a private residence by any means or methods whatever: Provided,

             That picketing, to the extent that the same is authorized under constitutional provisions,

             shall in no manner be prohibited. Violation of this section shall be a misdemeanor and

             punishable as such.”

13.   Plaintiffs’ motion at bar relies on two pieces of correspondence, both dated September 23, 2015.

      The first (Plaintiffs’ Exhibit D [Dkt 27-5]) is a September 23, 2015 letter from The Rapid’s

      Chief Operations Officer (COO), Brian Pouget, to Mr. Jackson, indicating

      a.     ITP “is investigating an alleged unlawful act committed by your union and several of its

             members against The Rapid’s Board Chair, it has not made any decision with regard to

             how to proceed in response to those actions;” and

      b.     ITP was scheduling meetings with Plaintiffs’ members that “may result in their being

             disciplined (up to and including termination).”

14.   The second (Plaintiffs’ Exhibit E [Dkt 27-6]) is a September 23, 2015 letter from ITP’s attorney,

      Grant Pecor, to ATU international VP Richard Murphy and attorney Joseph Burns,

      a.     concerning “attempt[s] to contact Board Members” and “circumvent” him as ITP’s

             “chosen” and “exclusive” bargaining representative;




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      b.     making “an official demand that you [ATU] immediately cease and desist from any

             effort to contact members of the ITP’s Board or any other employee of the ITP regarding

             any issue related to our negotiations,” including “efforts to persuade individuals at public

             meetings, their homes or places of employment.”

      c.     and concluding,“[s]hould you continue any such efforts, I will have no choice but to

             pursue an appropriate legal remedy.”

15.   On October 16, 2015, Plaintiffs amended their complaint, naming ITP’s CEO, COO and its

      board members in their individual capacities and adding two more § 1983 counts related to (1)

      September 2015 “direct action protests” in public streets in front of residences and businesses

      and (2) comments at public meetings of the ITP Board of Directors (with corresponding new

      facts) (Dkt 24). The current three § 1983 claims are as follows:

      I.     Violation of First and Fourteenth Amendment Rights at Rapid Central Station
      II.    Violation of First and Fourteenth Amendment Rights in City Streets
      III.   Violation of First and Fourteenth Amendment Rights at Public Meetings

16.   Plaintiffs now seek a second Preliminary Injunction relevant to the new Counts II and III (Dkt

      26). Plaintiffs seek an injunction enjoining Defendants from both (1) prohibiting or interfering

      with, and (2) imposing discipline on persons for their activities on the “City Streets” and at

      “Public Meetings.”

                                  II. CONCLUSIONS OF LAW

                                           A. Jurisdiction

1.    “The filing of a notice of appeal is an event of jurisdictional significance—it confers jurisdiction

      on the court of appeals and divests the district court of its control over those aspects of the case




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     involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982)

     (per curiam).

2.   A district court retains jurisdiction to “adjudicate matters unrelated to the issues on appeal.”

     Weaver v. Univ. of Cincinnati, 970 F.2d 1523, 1528-29 (6th Cir. 1992) (holding that an appeal

     from an interlocutory order does not divest the trial court of jurisdiction to continue deciding

     other issues involved in the case). See, e.g., Williamson v. Recovery Ltd. P’ship, 731 F.3d 608,

     626 (6th Cir. 2013) (holding that the preliminary injunction was one of the “other issues” over

     which the trial court retains jurisdiction).

3.   As indicated in the parties’ briefing on appeal to the Sixth Circuit, the parties do not challenge

     the legal framework this Court applied in deciding to enter the first preliminary injunction, only

     the Court’s application of the legal framework to the facts relevant to Count I.

4.   The proposed second Preliminary Injunction concerns the facts set forth in Counts II and III and

     is therefore, in the Court’s opinion, not an aspect of the case “involved in the appeal” from

     Count I.

5.   Defendants’ interlocutory appeal from injunctive relief on Count I (Rapid Central Station) does

     not divest this Court of jurisdiction to decide whether injunctive relief is appropriately granted

     on Count II (City Streets) and Count III (ITP Public Meetings).

                                       B. Motion Standard

6.   Again, the parties do not disagree on the legal framework:

     a.      “The purpose of a preliminary injunction is merely to preserve the relative positions of

             the parties until a trial on the merits can be held.” Univ. of Texas v. Camenisch, 451 U.S.

             390, 395 (1981). A party “is not required to prove his case in full at a preliminary



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           injunction hearing, and the findings of fact and conclusions of law made by a court

           granting the preliminary injunction are not binding at trial on the merits.” Id.

     b.    In evaluating a request for a preliminary injunction under Federal Rule of Civil

           Procedure 65, a district court should consider: (1) the movant’s likelihood of success on

           the merits; (2) whether the movant will suffer irreparable injury without a preliminary

           injunction; (3) whether issuance of a preliminary injunction would cause substantial

           harm to others; and (4) whether the public interest would be served by issuance of a

           preliminary injunction. McNeilly v. Land, 684 F.3d 611, 615 (6th Cir. 2012) (citing

           American Imaging Servs., Inc. v. Eagle-Picher Indus., Inc. (In re Eagle-Picher Indus.,

           Inc.), 963 F.2d 855, 858 (6th Cir. 1992)).

     c.    The party seeking the preliminary injunction bears the burden of justifying such relief,

           including showing irreparable harm and likelihood of success. McNeilly, 684 F.3d at

           615 (citing Granny Goose Foods, Inc. v. Teamsters, 415 U.S. 423, 441 (1974)).

     d.    The likelihood-of-success-on-the-merits consideration is the determinative factor in

           assessing the potential violation of the First Amendment, as alleged in this case. See

           Connection Distrib. Co. v. Reno, 154 F.3d 281, 288 (6th Cir. 1998).

           i.     With regard to the factor of irreparable injury, for example, “it is well-settled that

                  ‘loss of First Amendment freedoms, for even minimal periods of time,

                  unquestionably constitutes irreparable injury.’” Id. (quoting Elrod v. Burns, 427

                  U.S. 347, 373 (1976) (plurality)).

           ii.    Similarly, “it is always in the public interest to prevent the violation of a party’s

                  constitutional rights.” G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23

                  F.3d 1071, 1079 (6th Cir. 1994).

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                                   C. Count II (Public Streets)

7.    The First Amendment provides that Congress cannot pass a law “abridging the freedom of

      speech” of citizens of the United States. U.S. CONST. amend. I.

8.    The Supreme Court has adopted a forum analysis as a means of determining when the

      government’s interest in limiting the use of its property to its intended purpose outweighs the

      interest of those wishing to use the property for other purposes. Cornelius v. NAACP Legal Def.

      & Educ. Fund, Inc., 473 U.S. 788, 800 (1985).

9.    The parties do not disagree that the speech at issue in Count II has taken place in what is

      unquestionably a public forum: public streets. See United Food & Commercial Workers Union,

      Local 1099 v. Sw. Ohio Reg’l Transit Auth., 163 F.3d 341, 350 (6th Cir. 1998) (stating, albeit

      in dicta, that “streets” are an “archetypical example” of a traditional public forum).

10.   Defendants appear not to have questioned Plaintiffs’ right to picket or otherwise engage in

      protests in city streets or in front of businesses (Resp., Dkt 38 at 2, 6). Primarily at issue in

      Count II is the September 10, 2015 activity outside Holt’s private residence.

11.   Defendants argue that Plaintiffs’ First Amendment claim in Count II will fail because this

      activity constitutes a misdemeanor under Michigan’s law, to wit: § 423.9f(4), providing that

      “[i]t shall be unlawful ... to engage in picketing a private residence by any means or methods

      whatever.”

12.   Having carefully examined the state statute and given consideration to the parties’ written and

      oral arguments, the Court determines that the law is not yet established on the applicability

      and/or proper construction of the state statute. The Court determines that Plaintiffs have raised

      questions going to the merits that are “so serious, substantial, difficult, and doubtful as to make



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      them a fair ground for litigation and thus for more deliberate investigation,” satisfying Plaintiffs’

      burden at this stage in the proceedings. See Certified Restoration Dry Cleaning Network, L.L.C.

      v. Tenke Corp., 511 F.3d 535, 543 (6th Cir. 2007) (quoting Six Clinics Holding Corp. v.

      Cafcomp Sys., Inc., 119 F.3d 393, 402 (6th Cir. 1997)).

13.   Defendants argue that Plaintiffs are also not likely to succeed on the merits of Count II because

      the claims are not ripe and/or rest upon contingent future events that may not occur as

      anticipated, or may not occur at all. In this regard, Defendants emphasize that The Rapid has

      not enforced the state statute—indeed, has no authority to enforce it—and has not threatened

      adverse consequences for violating the statute.

14.   However, Mr. Pouget’s testimony at the Motion Hearing last month served to support the

      credibility of the threat implied in The Rapid’s disciplinary activities, activities that chill the

      exercise of First Amendment free speech rights. Specifically, Mr. Pouget conceded that “the

      possibility exists” that he would discipline—and even terminate—an employee solely for

      standing outside a board member’s home with a sign. As Plaintiffs’ counsel pointed out, in such

      circumstances, the ripeness requirements are relaxed. See Carey v. Wolnitzek, 614 F.3d 189, 196

      (6th Cir. 2010) (explaining that “[i]n the context of a free-speech ... challenge like this one, a

      relaxed ripeness applies to steer clear of the risk that the law ‘may cause others not before the

      court to refrain from constitutionally protected speech or expression’”) (quoting Broadrick v.

      Oklahoma, 413 U.S. 601, 612 (1973)). For purposes of this motion, it is the Court’s preliminary

      assessment that the harm alleged satisfies the relaxed ripeness requirements.

15.   Defendants also argue that Plaintiffs’ Count II will fail on its merits because (1) The Rapid is

      an “arm of the state” protected by sovereign immunity and not a “person” under 42 U.S.C. §



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      1983; and (2) Plaintiffs have failed to state a claim against The Rapid’s individual board

      members.

16.   However, the Court determines that these aspects of Plaintiffs’ Count II also present fair grounds

      for litigation and more deliberate investigation, including briefing on Defendants’ arguments,

      which this Court has scheduled (12/10/15 Order [Briefing Schedule], Dkt 46).

17.   Last, although the balancing of the preliminary-injunction factors is skewed toward an emphasis

      on the first factor in the context of a First Amendment claim, the Court is also persuaded by, and

      gives great weight to, Plaintiffs’ unique showing of irreparable injury on the facts of this case.

      Specifically, the Court determines that the alleged loss of Plaintiffs’ First Amendment freedoms

      to educate the public and influence the public entity during these critical months of negotiation

      may become a permanent loss once an agreement is negotiated. The Court is therefore

      disinclined to suspend Plaintiffs’ free speech rights while the issues arising from the allegations

      in Count II are being briefed and resolved.

18.   Therefore, the Court, in its discretion, determines that the overall balance of the factors weighs

      in favor of entry of a Preliminary Injunction applicable to Count II.

                                  D. Count III (Public Meetings)

19.   Here, too, the parties do not disagree that the speech at issue in Count III has taken place in what

      is unquestionably a public forum: public meetings. See Featherstone v. Columbus City Sch.

      Dist. Bd. of Educ., 92 F. App’x 279, 282 (6th Cir. 2004) (holding that “[a] school board meeting,

      when opened to the public, is a limited public forum for discussion of subjects relating to the

      operation of the schools”).




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20.   While defense counsel asserted, and Mr. Pouget corroborated the assertion, that “rank and file

      members” are not prohibited from speaking at public meetings, including meetings of The

      Rapid’s Board, attorney Pecor’s letter made “an official demand that you [ATU] immediately

      cease and desist from any effort to contact members of the ITP’s Board or any other employee

      of the ITP regarding any issue related to our negotiations,” including “efforts to persuade

      individuals at public meetings...” and concluded,“[s]hould you continue any such efforts, I will

      have no choice but to pursue an appropriate legal remedy” (emphasis added).

21.   The Court therefore does not determine that Plaintiffs’ request for preliminary injunctive relief

      in Count III is moot.

22.   Further, for purposes of this motion, it is the Court’s preliminary assessment that the credible

      threat of harm satisfies the relaxed ripeness requirements in this First Amendment claim, too.

23.   The Court determines that Plaintiffs’ allegations in Count III present fair grounds for litigation

      and more deliberate investigation, including briefing on Defendants’ twin “arm-of-the-state”

      arguments and their failure-to-state-a-claim argument.

24.   Last, as with Plaintiffs’ right to exercise their freedom of speech in the public streets, the Court

      is equally disinclined to suspend Plaintiffs’ right to exercise their freedom of speech at public

      meetings while the issues arising from the allegations in Count III are being briefed and

      resolved.

25.   Therefore, the Court, in its discretion, determines that the overall balance of the preliminary-

      injunction factors also weighs in favor of entry of a Preliminary Injunction applicable to

      Count III.




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      Accordingly:

      A Preliminary Injunction corresponding with this Opinion will enter.



Date: December 10, 2015                               /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge




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